                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      MILWAUKEE DIVISION


BRENT KRAUSE,
on behalf of himself and
all others similarly situated,                                Case No. 21-cv-986

                Plaintiff,                                    COLLECTIVE AND CLASS
                                                              ACTION COMPLAINT
        v.                                                    PURSUANT TO 29 U.S.C. §216(b)
                                                              AND FED. R. CIV. P. 23
STUART’S LANDSCAPING &
GARDEN CENTER, INC.                                           JURY TRIAL DEMANDED
N7820 Lakeshore Drive
Fond du Lac, Wisconsin 54937

                Defendant


                                          COMPLAINT


                                   PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Brent Krause, on behalf of himself and all other similarly situated current

and former non-exempt employees of Defendant, Stuart’s Landscaping & Garden Center, Inc.,

for purposes of obtaining relief under the FLSA and WWPCL for unpaid overtime

compensation, unpaid agreed upon wages, liquidated damages, costs, attorneys’ fees, declaratory

and/or injunctive relief, and/or any such other relief the Court may deem appropriate.




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       2.      Defendant is headquartered in Fond du Lac, Wisconsin, and is a privately-owned

company that provides landscaping and gardening services.

       3.      Defendant operated (and continues to operate) an unlawful compensation system

that deprived and failed to compensate Plaintiff and all other current and former non-exempt

employees for all hours worked and work performed each workweek, including at an overtime

rate of pay for each hour worked in excess of forty (40) hours in a workweek, by: (1) shaving

time (via electronic timeclock rounding) from hourly-paid, non-exempt employees’ weekly

timesheets for pre-shift, post-shift, and in-shift hours worked and/or work performed, to the

detriment of said employees and to the benefit of Defendant, in violation of the FLSA and

WWPCL; and (2) misclassifying non-exempt employees as salaried-exempt when, in reality,

they performed non-exempt job duties each work day and each workweek and were entitled

overtime rate of pay for each hour worked in excess of forty (40) hours in a workweek, in

violation of the FLSA and WWPCL.

       4.      Defendant’s failure to compensate its non-exempt employees for compensable

work performed each workweek, including but not limited to at an overtime rate of pay, was

intentional, willful, and violated federal law as set forth in the FLSA and state law as set forth in

the WWPCL.

                                 JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et




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seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action

within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.

       7.       Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

Defendant has substantial and systematic contacts in this District.

                                            PARTIES

       8.       Defendant is a Fond du Lac, Wisconsin-based company with a principal office

address of N7820 Lakeshore Drive, Fond du Lac, Wisconsin 54937.

       9.       For purposes of the FLSA, Defendant was an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       10.      For purposes of the FLSA, Defendant was an “employer” of Plaintiff, and

Plaintiff was “employed” by Defendant, as those terms or variations thereof are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       11.      During the relevant time periods as stated herein, Defendant employed more than

two (2) employees.

       12.      During the relevant time periods as stated herein, Defendant’s annual dollar

volume of sales or business exceeded $500,000.

       13.      During the relevant time periods as stated herein, Defendant was engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under

the FLSA.

       14.      Plaintiff, Brent Krause, is an adult male resident of the State of Wisconsin

residing at W2354 State Road 23, Green Lake, Wisconsin 54941.




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       15.      During the relevant time periods as stated herein, Plaintiff was engaged in

commerce or in the production of goods for commerce.

       16.      Plaintiff’s Notices of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) is contemporaneously filed with this Complaint (ECF No. 1).

       17.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff worked as a non-exempt employee alongside other non-exempt

employees based out of Defendant’s Fond du Lac, Wisconsin location.

       18.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff performed compensable work based out of Defendant’s Fond

du Lac, Wisconsin location at Defendant’s direction, on Defendant’s behalf, for Defendant’s

benefit, and/or with Defendant’s knowledge.

       19.      Plaintiff brings this action on behalf of himself and all other similarly-situated

current and former non-exempt employees who work at, worked at, and/or were employed by

Defendant within the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1). Plaintiff performed similar job duties as other current and former non-exempt

employees who work at, worked at, and/or were employed by Defendant, and Plaintiff and all

other current and former non-exempt employees performed compensable work at Defendant’s

direction, on Defendant’s behalf, for Defendant’s benefit, and/or with Defendant’s knowledge at

facilities or locations that were owned, operated, and managed by Defendant, and they were all

similarly subject to Defendant’s same unlawful compensation policies and practices as

enumerated herein




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       20.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant supervised Plaintiff’s day-to-day activities and the day-to-

day activities of all other non-exempt employees.

       21.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant hired, terminated, promoted, demoted, and suspended

Plaintiff and all other non-exempt employees.

       22.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant reviewed Plaintiff’s work performance and the work

performance of all other non-exempt employees.

       23.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established Plaintiff’s work schedule and the work schedules

of all other non-exempt employees.

       24.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established Plaintiff’s and all other non-exempt employees’

hourly rates of pay and/or means of compensation.

       25.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant provided Plaintiff and all other non-exempt employees with

work assignments and hours of work.

       26.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s hours of work and the hours of work of all other non-exempt

employees were tracked and recorded by Defendant.




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       27.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established the work rules, policies, and procedures by which

Plaintiff and all other non-exempt employees abided in the workplace.

       28.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant controlled the terms and conditions of Plaintiff’s

employment and the employment of all other non-exempt employees.

                                 GENERAL ALLEGATIONS

       29.      In approximately September 2017, Defendant hired Plaintiff as an hourly-paid,

non-exempt employee in the position of General Laborer / Team Lead working primarily out of

Defendant’s Fond du Lac, Wisconsin location.

       30.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1), the majority of Defendant’s employees were employed in similarly-

titled job position as Plaintiff: General Laborer / Team Lead.

       31.      In approximately January 2021, Defendant began compensating Plaintiff on a

salaried basis and classified Plaintiff as “exempt” for purposes of the FLSA and WWPCL, even

though Plaintiff’s weekly job duties and job responsibilities did not change as they were prior to

January 2021.

       32.      In approximately August 2021, Plaintiff’s employment with Defendant ended.

       33.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1) and during the entirety of Plaintiff’s employment with Defendant,

Plaintiff performed manual labor and/or non-exempt job duties and responsibilities each

workweek in his position of General Laborer / Team Lead on Defendant’s behalf, with

Defendant’s knowledge, at Defendant’s direction, and/or for Defendant’s benefit.




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       34.      During the entirety of Plaintiff’s employment with Defendant in his position of

General Laborer / Team Lead, Plaintiff was a non-exempt employee for purposes of the FLSA

and WWPCL.

       35.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1), Plaintiff and all other employees employed in the positions of General

Laborer / Team Lead were non-exempt employees for purposes of the FLSA and WWPCL.

       36.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1) and during the entirety of Plaintiff’s employment with Defendant,

Plaintiff primarily performed manual labor each workweek in his position of General Laborer /

Team Lead on Defendant’s behalf, with Defendant’s knowledge, at Defendant’s direction, and/or

for Defendant’s benefit.

       37.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1), Plaintiff’s primary job duty, and the primary job duty of all other non-

exempt employees in the positions of General Laborer / Team Lead, was performing physical or

manual labor each work day and each workweek.

       38.      During the three (3) year period immediately preceding the filing of this

Complaint, (ECF No. 1), Plaintiff and all other non-exempt employees spent the majority of their

hours worked and work performed each work day and each workweek performing physical or

manual labor in the positions of General Laborer / Team Lead.

       39.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees worked in excess of forty

(40) hours per workweek.




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       40.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant knew or had knowledge that Plaintiff and all other non-exempt

employees worked in excess of forty (40) hours per workweek.

       41.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees were non-union

employees of Defendant.

       42.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant compensated Plaintiff and all other non-exempt employees

on a bi-weekly basis via check.

       43.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s workweek for FLSA and WWPCL purposes was Sunday

through Saturday.

       44.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former non-exempt employees were subject to

Defendant’s same unlawful policy, practice, custom, and/or scheme of shaving time (via

electronic timeclock rounding) from Plaintiff’s and all other hourly-paid, non-exempt

employees’ weekly timesheets for pre-shift, post-shift, and in-shift hours worked and/or work

performed, to the detriment of said employees and to the benefit of Defendant.

       45.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former non-exempt employees were subject to

Defendant’s same unlawful policy, practice, custom, and/or scheme of misclassifying said

employees as salaried-exempt when, in reality, they performed non-exempt job duties each work




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day and each workweek and were entitled overtime rate of pay for each hour worked in excess of

forty (40) hours in a workweek.

       46.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees were subject to

Defendant’s same pay and timekeeping policies and practices.

       47.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant tracked and/or recorded Plaintiff’s and all other non-exempt employees’

hours worked each workweek.

       48.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant maintained an electronic time-clock system (hereinafter

simply “Defendant’s electronic timekeeping system”) that Plaintiff and all other non-exempt

employees used on a daily basis for timekeeping and/or recordkeeping purposes.

       49.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees used Defendant’s

electronic timekeeping system on a daily basis for timekeeping and/or recordkeeping purposes.

       50.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained employment records and other documentation regarding

Plaintiff and all other non-exempt employees.

       51.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for tracking and/or recording hours

worked by Plaintiff and all other non-exempt employees.

       52.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees used Defendant’s




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electronic timekeeping system to “clock in” and to “clock out” of work each day at the beginning

and end of their shifts, respectively.

       53.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees performed compensable

work immediately after “clocking in” via Defendant’s electronic timekeeping system at the

beginning of their shifts each work day.

       54.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees performed compensable

work immediately prior to “clocking out” via Defendant’s electronic timekeeping system at the

end of their shifts each work day.

       55.     Each work day during the three (3) year period immediately preceding the filing

of this Complaint (ECF No. 1), Defendant required Plaintiff and all other non-exempt employees

to record their hours worked and work performed by “clocking in” at the beginning of their shifts

(when compensable work commenced) and “clocking out” at the end of their shifts (when

compensable work ceased) via Defendant’s electronic timekeeping system.

       56.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees used Defendant’s

electronic timekeeping system to record all hours worked and work performed each work day

and each workweek.

       57.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other non-exempt employees’ “clock in” and “clock

out” times each work day via Defendant’s electronic timekeeping system were kept, stored,

and/or retained by Defendant.




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       58.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other non-exempt employees’ “clock in” and “clock

out” times each work day via Defendant’s electronic timekeeping system recorded, reflected, and

represented the actual hours worked and work performed each work day and each workweek by

Plaintiff and all other non-exempt employees.

       59.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s pay policies and practices failed to compensate Plaintiff

and all other non-exempt employees for all hours actually worked and/or work performed each

work day and each workweek as recorded, reflected, and represented via Defendant’s electronic

timekeeping system.

       60.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s compensation practice applicable to Plaintiff and all other

hourly-paid, non-exempt employees was to round said employees’ actual hours worked and/or

work performed each work day as recorded, reflected, and represented via Defendant’s electronic

timekeeping system in the following manner: forward in intervals of fifteen (15) minutes prior to

said employees’ scheduled shift start times; forward in intervals of fifteen (15) minutes (in-shift)

after said employees’ scheduled shift start times; backwards in intervals of fifteen (15) minutes

(in-shift) prior to said employees’ scheduled shift end times; and backwards in intervals of

fifteen (15) minutes after said employees’ scheduled shift end times. Such a practice resulted in

Defendant shaving time from Plaintiff’s and all other hourly-paid, non-exempt employees’

timesheets each work day and each workweek for pre-shift, post-shift, and in-shift hours worked

and/or work performed while “clocked in” via Defendant’s electronic timekeeping system.




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        61.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant shaved time from Plaintiff’s and all other hourly-paid, non-

exempt employees’ timesheets each work day and each workweek for pre-shift, post-shift, and

in-shift compensable work performed by failing to compensate Plaintiff and all other hourly-

paid, non-exempt employees when compensable work commenced each work day (as recorded,

reflected, and represented via Defendant’s electronic timekeeping system); instead, Defendant

compensated Plaintiff and all other hourly-paid, non-exempt employees based on the rounded

times each workweek via its electronic timekeeping system.

        62.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s pay policies and practices failed to compensate Plaintiff

and all other hourly-paid, non-exempt employees for work performed each work day as

described herein despite Defendant having an actual and accurate record of said employees’ pre-

shift, post-shift, and in-shift hours worked and/or work performed via its electronic timekeeping

system.

        63.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees did not primarily perform

their job duties in an office setting.

        64.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other non-exempt employees’ primary job duty was

not the management of Defendant’s enterprise, general business operation, or a department or

division of Defendant.




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        65.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees performed their job duties

and responsibilities at the direction of Defendant: they were given specific instructions as to how

to perform their job duties and/or they performed their job duties within the prescribed

procedures, processes, and/or limits established by Defendant.

        66.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees did not customarily and

regularly exercise discretion or independent judgment in the performance of their job duties.

        67.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees did not, in the

performance of their job duties, customarily or regularly compare or evaluate possible courses of

conduct, and they did not customarily or regularly act or make decisions regarding matters of

significance after considering various possibilities.

        68.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees did not, in the

performance of their job duties, customarily or regularly have the authority to make an

independent choice, free from immediate direction or supervision, or to waive or deviate from

Defendant’s established policies, processes, and/or procedures without Defendant’s prior

approval.

        69.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other non-exempt employees’ job duties did not

require advanced knowledge in a field of science or learning, and/or did not require invention,

imagination, originality, or talent.




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       70.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other non-exempt employee’s job duties did not

require them to perform work which was predominantly intellectual in nature and acquired by a

prolonged course of specialized intellectual instruction.

       71.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees did not customarily or

regularly spend the majority of their hours worked each workweek making sales directly to

Defendant’s customers.

       72.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees were not highly

compensated employee for FLSA and WWPCL purposes.

       73.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other non-exempt employees were not commissioned

employees

       74.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s policies in practice failed to compensate Plaintiff and all other non-

exempt employees at the correct and lawful overtime rate of pay for all hours worked and work

performed in excess of forty (40) hours in a workweek.

       75.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant did not properly and lawfully compensate Plaintiff and all

other non-exempt employees for all hours actually worked and/or work performed each work

day and each workweek, including but not limited to at an overtime rate of pay.




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       76.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s policies in practice unlawfully and impermissibly failed to,

on a daily and/or weekly basis, compensate Plaintiff and all other non-exempt employees when

compensable work commenced and ceased each work day.

       77.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1) and during workweeks when no overtime was due, if any, Defendant

suffered or permitted Plaintiff and all other hourly-paid, non-exempt employees to work without

being paid appropriate and lawful compensation for all hours worked and/or work performed

each work day and each workweek.

       78.     Defendant was or should have been aware that its compensation policies in

practice failed to compensate Plaintiff and all other non-exempt employees in the same or similar

fashion for all hours worked and/or work performed each work day and each workweek,

including but not limited to at an overtime rate of pay.

              COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       79.     Plaintiff brings this action on behalf of himself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

               All non-exempt employees employed by Defendant within the three (3)
               years immediately preceding the filing of this Complaint (ECF No. 1) who
               have not been compensated at an overtime rate of pay for all hours worked
               in excess of forty (40) hours in a workweek.

       80.     Plaintiff and the FLSA Collective primarily performed non-exempt job duties

each workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of

forty (40) in a workweek.




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       81.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant, as a matter of policy and practice, shaved time from the FLSA

Collective’s timesheets for all pre-shift, post-shift, and in-shift hours worked and/or work

performed each work day while “clocked in” via Defendant’s electronic timekeeping system.

These practices resulted in Plaintiff and the FLSA Collective being denied overtime

compensation by Defendant at the rate of one and one-half times their regular hourly rate of pay

for hours worked in excess of forty (40) in a workweek.

       82.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant, as a matter of policy and practice, misclassified non-exempt employees

as salaried-exempt when, in reality, they performed non-exempt job duties each work day and

each workweek and were entitled overtime rate of pay for each hour worked in excess of forty

(40) hours in a workweek.

       83.     The First Claim for Relief is brought under and maintained as an opt-in Collective

Action pursuant to § 216(b) of the FLSA, 29 U.S.C. 216(b), by Plaintiff on behalf of the FLSA

Collective.

       84.     The FLSA Collective claims may be pursued by those who affirmatively opt in to

this case, pursuant to 29 U.S.C. § 216(b).

       85.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements and pay provisions, and are and have been

subject to Defendant’s decisions, policies, plans and programs, practices, procedures, protocols,

routines, and rules willfully failing and refusing to compensate them for each hour worked

including overtime compensation. The claims of Plaintiff as stated herein are the same as those

of the FLSA Collective.




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       86.    Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among other FLSA violations, Defendant’s practice of failing to properly and lawfully

compensate employees for all work performed and/or hours worked at the correct and lawful

overtime rate of pay each workweek, in violation of the FLSA.

       87.    Defendant was or should have been aware that its unlawful practices failed to

compensate and deprived Plaintiff and the FLSA Collective of the appropriate and lawful

overtime wages and compensation due and owing to them, in violation of the FLSA.

       88.    The FLSA Collective is readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available

from Defendant. Notice can be provided to the FLSA Collective via first class mail to the last

address known by Defendant and through posting at Defendant’s facility in areas where postings

are normally made.

       89.    Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the putative FLSA Collective.

                     RULE 23 CLASS ALLEGATIONS - WISCONSIN

       90.    Plaintiff brings this action on behalf of himself and all other similarly-situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

              Timeshaving Class: All hourly-paid, non-exempt employees employed
              by Defendant within the two (2) years immediately preceding the filing of
              this Complaint (ECF No. 1) and through the date of judgment who have
              not been compensated for all hours worked each workweek at a regular
              rate of pay or at an overtime rate of pay for hours worked in excess of
              forty (40) hours in a workweek as a result of Defendant’s timeshaving
              practices.




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              Misclassification Class: All non-exempt employees employed by
              Defendant within the two (2) years immediately preceding the filing of
              this Complaint (ECF No. 1) and through the date of judgment who have
              not been compensated at an overtime rate of pay for hours worked in
              excess of forty (40) hours in a workweek as a result of Defendant’s
              misclassification of said employees’ as salaried-exempt.
       91.    The members of the Wisconsin Classes are readily ascertainable. The number and

identity of the members of the Wisconsin Classes are determinable from the records of

Defendant. The job titles, length of employment, and the rates of pay for each member of the

Wisconsin Classes are also determinable from Defendant’s records. For purposes of notice and

other purposes related to this action, their names and addresses are readily available from

Defendant. Notice can be provided by means permissible under Fed. R. Civ. P. 23.

       92.    The proposed Wisconsin Classes are so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are fifty (50) members of each of the Wisconsin Classes.

       93.    Plaintiff’s claims are typical of those claims which could be alleged by any

members of the Wisconsin Classes, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Classes in separate actions. All of the members of the

Wisconsin Classes were subject to the same corporate practices of Defendant, as alleged herein.

Defendant’s corporate-wide policies and practices affected all members of the Wisconsin Classes

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

member of the Wisconsin Classes. Plaintiff and other members of the Wisconsin Classes

sustained similar losses, injuries and damages arising from the same unlawful policies and

practices and procedures.




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       94.    Plaintiff is able to fairly and adequately protect the interests of the Wisconsin

Classes and has no interests antagonistic to the Wisconsin Classes. Plaintiff is represented by

counsel who are experienced and competent in both collective/class action litigation and

employment litigation and have previously represented plaintiffs in wage and hour cases.

       95.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons

to prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual members

of the Wisconsin Class to redress the wrongs done to them.

       96.    Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Classes would create a risk of inconsistent and/or varying adjudications with

respect to the individual members of the Wisconsin Classes, establishing incompatible standards

of conduct for Defendant and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the




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Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.

          97.   Defendant has violated the WWPCL regarding payment of regular wages and

overtime wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

          98.   There are questions of fact and law common to the Wisconsin Classes that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Classes arising from Defendant’s actions include, without

limitation, the following: (1) Whether the work performed by Plaintiff and the Wisconsin Classes

is compensable under federal law and/or Wisconsin law; (2) Whether Defendant engaged in a

pattern or practice of forcing, coercing, deceiving and/or permitting Plaintiff and the Wisconsin

Classes to perform work for Defendant’s benefit without being properly compensated; (3)

Whether Defendant failed to pay Plaintiff and the Wisconsin Classes for all work Defendant

suffered or permitted them to perform each work day and each workweek; and (4) The nature

and extent of class-wide injury and the measure of damages for the injury.

          99.   The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.




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                                  FIRST CLAIM FOR RELIEF
                       Violations of the FLSA – Unpaid Overtime Wages
                    (Plaintiff on behalf of himself and the FLSA Collective)

       100.    Plaintiff, on behalf of himself and the FLSA Collective, reassert and incorporate

by reference all paragraphs set forth above as if restated herein.

       101.    At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       102.    At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective as provided under the FLSA.

       103.    At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

       104.    Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       105.    Defendant violated the FLSA by suffering or permitting Plaintiff and the FLSA

Collective to perform work without being properly or lawfully compensated for each hour

worked in excess of forty (40) hours each workweek. Specifically, Defendant’s unlawful

compensation practice shaved time from the FLSA Collective’s timesheets for all pre-shift, post-

shift, and in-shift hours worked and/or work performed while “clocked in” via Defendant’s

electronic timekeeping system. By failing to compensate the FLSA Collective in such a fashion

as described herein, this unlawful compensation practice denied Plaintiff and the FLSA

Collective overtime premium pay for each hour they worked in excess of forty (40) hours each

workweek and for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       106.    Defendant violated the FLSA by suffering or permitting Plaintiff and the FLSA

Collective to perform work without being properly or lawfully compensated for each hour




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worked in excess of forty (40) hours each workweek. Specifically, Defendant’s unlawful

compensation practice misclassified the FLSA Collective as salaried-exempt when, in reality,

Plaintiff and the FLSA Collective performed non-exempt job duties each work day and each

workweek and were entitled overtime rate of pay for each hour worked in excess of forty (40)

hours in a workweek.

       107.    The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods

for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       108.    Defendant was and is subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       109.    Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly record all compensable work time was willfully perpetrated. Defendant has

not acted in good faith and with reasonable grounds to believe that its actions and omissions

were not a violation of the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are

entitled to recover an award of liquidated damages in an amount equal to the amount of unpaid

overtime premium pay described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. §

216(b). Alternatively, should the Court find that Defendant did not act willfully in failing to pay

overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of pre-

judgment interest at the applicable legal rate.

       110.    Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,




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plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.

       111.    Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                                SECOND CLAIM FOR RELIEF
                     Violation of the WWPCL – Unpaid Overtime Wages
                   (Plaintiff, on behalf of himself and the Wisconsin Class)

       112.    Plaintiff, on behalf of himself and the Wisconsin Class, re-allege and incorporate

all previous paragraphs as if they were set forth herein.

       113.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       114.    At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       115.    At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       116.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       117.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.




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         118.   Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that shaved time from Plaintiff’s and the Wisconsin Class’

timesheets for all pre-shift, post-shift, and in-shift hours worked and/or work performed while

“clocked in” via Defendant’s electronic timekeeping system each work day and each workweek,

resulting in Defendant impermissibly and unlawfully failing to compensate Plaintiff and the

Wisconsin Class for any and all hours worked and/or work performed each work day and each

workweek at an overtime rate of pay, in violation of the WWPCL.

         119.   Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that misclassified the WWPCL Class as salaried-exempt when,

in reality, Plaintiff and the WWPCL Class performed non-exempt job duties each work day and

each workweek and were entitled overtime rate of pay for each hour worked in excess of forty

(40) hours in a workweek, in violation of the WWPCL.

         120.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek, in

violation of the WWPCL.

         121.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.




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       122.    Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

                                THIRD CLAIM FOR RELIEF
Violation of the WWPCL – Unpaid Regular Wages / Failure to Pay An Agreed-Upon Wage
                  (Plaintiff, on behalf of himself and the Wisconsin Class)

       123.    Plaintiff, on behalf of himself and the Wisconsin Class, re-alleges and

incorporates all previous paragraphs as if they were set forth herein.

       124.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       125.    At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       126.    At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       127.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       128.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.

       129.    Throughout the Wisconsin Class Period, the Wisconsin Class was entitled to

payments from Defendant at their agreed upon wage, as defined in Wis. Stat. § 109.01(3), for

each hour worked, pursuant to Wis. Stat. § 109.03.




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         130.   Throughout the Wisconsin Class Period, Defendant did not compensate the

Wisconsin Class for each and every hour worked, in accordance with Wis. Admin. Code § DWD

272.

         131.   Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that shaved time from Plaintiff’s and the Wisconsin Class’

timesheets for all pre-shift, post-shift, and in-shift hours worked and/or work performed while

“clocked in” via Defendant’s electronic timekeeping system each work day and each workweek,

resulting in Defendant impermissibly and unlawfully failing to compensate Plaintiff and the

Wisconsin Class for any and all hours worked and/or work performed each work day and each

workweek at their regular hourly rate of pay when hours worked each workweek did not exceed

forty (40), in violation of the WWPCL.

         132.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class compensation

for all hours worked that did not exceed forty (40) hours in a workweek, in violation of the

WWPCL.

         133.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.




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       134.   Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

       WHEREFORE, it is respectfully prayed that this Court grant the following relief:

          a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
             supervised Notice, to all similarly-situated current and former non-exempt
             employees who worked at and/or were employed by Defendant informing them of
             this action and their rights to participate in this action. Such Notice shall inform
             all similarly-situated current and qualified former employees of the pendency of
             this action, the nature of this action, and of their right to “opt in” to this action.
             Additionally, such notice will include a statement informing the similarly-situated
             current and qualified former employees that it is illegal for Defendant to take any
             actions in retaliation of their consent to join this action;

          b) At the earliest possible time, issue an Order certifying this action as a class action
             pursuant to Federal Rules of Civil Procedure 23;

          c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
             as class counsel pursuant to Federal Rules of Civil Procedure 23;

          d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
             2202, declaring Defendant’s actions as described in the Complaint as unlawful
             and in violation of the FLSA and Wisconsin Law and applicable regulations and
             as willful as defined in the FLSA and Wisconsin Law;

          e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated non-exempt employees damages in the form of reimbursement
             for unpaid overtime wages and/or regular wages for all time spent performing
             compensable work for which they were not paid pursuant to the rate provided by
             the FLSA and WWPCL;

          f) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated non-exempt employees liquidated damages pursuant to the
             FLSA and WWPCL in an amount equal to, and in addition to the amount of
             wages and overtime wages owed to them;

          g) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly-
             situated non-exempt employees for the costs and attorneys’ fees expended in the
             course of litigating this action, pre-judgment and post-judgment interest; and

          h) Provide Plaintiff and all other similarly-situated non-exempt employees with
             other relief that the Court deems just and equitable.




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             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 23rd day of August, 2021

                                                   WALCHESKE & LUZI, LLC
                                                   Counsel for Plaintiff

                                                   s/ Scott S. Luzi                    .




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